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     ANNA TRYON PLETCHER (Cal. Bar No. 239730)
 1   TAI S. MILDER (Cal. Bar No. 267070)
     MAY LEE HEYE (Cal. Bar No. 209366)
 2   KELSEY C. LINNETT (Cal. Bar No. 274547)
     Trial Attorneys
 3   U.S. Department of Justice
 4   Antitrust Division
     450 Golden Gate Avenue, Room 10-0101
 5   San Francisco, California 94102-3478
     Telephone: (415) 436-6660
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 7
                            UNITED STATES DISTRICT COURT
 8
                          EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA                )   Case No. 2:11-CR-511-05 WBS
11                                           )
12                     Plaintiff,            )   UNITED STATES’ MOTION TO
                                             )
                 v.                          )   DISMISS CHARGES AND [PROPOSED]
13                                               ORDER
                                             )
14                                           )
     ANDREW B. KATAKIS,                      )   Judge: Hon. William B. Shubb
15   DONALD M. PARKER, and                   )   Place: Courtroom 5
     W. THEODORE LONGLEY,                    )
16                                           )   Trial Date: February 4, 2014
                       Defendants.           )
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     UNITED STATES’ MOTION TO DISMISS CHARGES AND [PROPOSED] ORDER
     2:11-CR-511-WBS
               Case 2:11-cr-00511-WBS Document 281 Filed 03/13/14 Page 2 of 3



 1            Defendant W. Theodore Longley was found not guilty of Count One, conspiracy in
 2   violation of the Sherman Antitrust Act, section 1 of Title 18 of the United States Code, and not
 3   guilty of Count Two, conspiracy to commit mail fraud in violation of section 1349 of Title 18 of
 4   the United States Code. Both charges were contained in the Superseding Indictment. Doc. 136.
 5   Therefore, the United States moves to dismiss the charges against defendant W. Theodore
 6   Longley contained in the underlying Indictment. Doc. 1.
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 8
 9   Dated:          March 11, 2014                       Respectfully submitted,
10
11                                                        /s/ Kelsey C. Linnett
                                                          Anna Tryon Pletcher
12                                                        Tai S. Milder
                                                          May Lee Heye
13
                                                          Kelsey C. Linnett
14                                                        Trial Attorneys
                                                          U.S. Department of Justice
15                                                        Antitrust Division
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     UNITED STATES’ MOTION TO DISMISS CHARGES AND [PROPOSED] ORDER
     2:11-CR-511-WBS
            Case 2:11-cr-00511-WBS Document 281 Filed 03/13/14 Page 3 of 3



 1                                             ORDER
 2         For the reasons stated above, the charges in the underlying Indictment against defendant
 3   W. Theodore Longley are hereby DISMISSED with prejudice.
 4         IT IS SO ORDERED.
 5   Dated: March 12, 2014
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     UNITED STATES’ MOTION TO DISMISS CHARGES AND [PROPOSED] ORDER
     2:11-CR-511-WBS
